        Case 1:25-cv-01050-RJL          Document 44       Filed 05/23/25      Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 AMERICAN LIBRARY ASSOCIATION,
 et al.,

                        Plaintiffs,

        v.                                             No. 25-cv-01050-RJL

 KEITH SONDERLING, in his capacity as
 Acting Director of the Institute of Museum
 and Library Services, et al.,

                        Defendants.


                   DEFENDANTS’ OBJECTION TO AN EXTENSION
                OF THE COURT’S TEMPORARY RESTRAINING ORDER

       Pursuant to the Court’s May 22, 2025 Minute Order, Defendants respectfully submit this

objection to any extension of the Court’s temporary restraining order.

       Defendants’ request for reconsideration of the Court’s May 1, 2025 Memorandum Order,

ECF No. 36, was grounded in guidance the D.C. Circuit provided in Widakuswara v. Lake, No.

25-5144, 2025 WL 1288817 (D.C. Cir. May 3, 2025). Although part of the injunction entered in

the Widakuswara case was subsequently administratively stayed pending a petition for rehearing

en banc, Middle E. Broad. Networks, Inc., v. United States, 25-5150, 2025 WL 1378735 (D.C.

Cir. May 7, 2025), new developments in that case warrant reconsideration of the Court’s

temporary restraining order and inform the timing of the Court’s consideration of Plaintiffs’

request for a preliminary injunction.

       Specifically, on May 22, 2025, the D.C. Circuit denied the request for en banc

reconsideration and vacatur of its stay with respect to the restoration of employees and

contractors. See Exhibit A, Widakuswara v. Lake, No. 25-5144, at *2 (D.C. Cir. May 22, 2025),

                                               -1-
        Case 1:25-cv-01050-RJL           Document 44        Filed 05/23/25      Page 2 of 4




Dk. No. 2117031. As a result, the provisions of the Court’s May 3, 2025 order, that concluded

that the district court likely lacked jurisdiction to address claims challenging agency personnel

actions remain in force. 1 See id. As noted in Defendants’ Motion for Reconsideration, the D.C.

Circuit’s reasoning in Widakuswara demonstrates that wholesale challenge to an alleged agency

closure cannot proceed under the APA. See Widakuswara, 2025 WL 1288817, at *3. That

reasoning and those provisions of the Widakuswara order are dispositive in this case. Nor, in

light of that the en banc Court’s denial, is the D.C. Circuit likely to provide additional

controlling guidance on this matter in the near future.

       Moreover, the recent denial of a similar request for a preliminary injunction in this

District is instructive, as it again supports the arguments Defendants have asserted in this case.

See Exhibit B, Carter v. Dep’t of Ed., No. 25-cv-00744 (D.D.C. May 21, 2025), Dk. No. 68. In

Carter, the district court concluded that the plaintiffs did not have a likelihood of success on the

merits of their APA claims regarding reduction in force efforts at the Department of Education

because, among other things, such programmatic attacks on agency operations are not cognizable

under the APA. Id. at 12–13; id. at 21 (noting that the plaintiffs improperly seek to correct the

entire operation of the agency). There, as here, the plaintiffs’ claims sought wholesale correction

to agency action that would, in effect, place the agency’s operations into judicial receivership.

Id. at 21. The district court rejected those claims pursuant to Lujan and its progeny. Id. at 18–

20. The district court also found that the challenged agency actions did not prevent the Office of

Civil Rights “from complying with its statutory and regulatory requirements” because they were




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  Defendants recognize that the D.C. Circuit’s May 22, 2025 Order does not address claims
challenging grant terminations. For the reasons stated in Defendants’ opposition, including the
Supreme Court’s guidance in California, Plaintiffs do not have a likelihood of success on those
claims.
                                                -2-
        Case 1:25-cv-01050-RJL            Document 44        Filed 05/23/25       Page 3 of 4




still investigating civil rights complaints. Id. at 15–17. Similarly, here, IMLS is fulfilling its

statutory obligations, including the Grants to States program. See Exhibit C ¶¶ 6, 9. The Carter

opinion, therefore, further supports Defendants’ arguments in this case.

        Finally, Defendants note that the court in Rhode Island v. Trump has entered a

preliminary injunction that provides, among other things, essentially the same relief as provided

in the current temporary restraining order. See Exhibit D, Rhode Island v. Trump, No. 25-cv-

00128 (D. R.I. May 13, 2025), Dk. No. 60. While Defendants have sought to stay that order in

the district court and the First Circuit, unless and until that stay is granted, there is no prospect of

imminent irreparable injury that justifies further temporary relief by this Court.

        Because precedent in this Circuit supports Defendants’ arguments, and because further

temporary relief is unnecessary at this time, Defendants’ oppose any extension of the Court’s

temporary restraining order. Defendants respectfully ask this Court to reconsider the May 1,

2025, Memorandum Order, and to deny Plaintiffs’ pending motion for a preliminary injunction.

Dated: May 23, 2025

                                                Respectfully submitted,

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                                                  -3-
Case 1:25-cv-01050-RJL   Document 44    Filed 05/23/25    Page 4 of 4




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                              -4-
